                                  Case 6:18-bk-06821-KSJ                         Doc 186            Filed 09/30/19                Page 1 of 15


 Fill in this information to identify your case:

 Debtor 1                     Don Karl Juravin
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA

 Case number            6:18-bk-06821-CCJ
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              Reimbursement of     $ $29,595.02
                                                                                                                   agreed household and
                                                                                                                   famil expenses
              Anna Jurvain
              15118 Pendio Drive                                     As of the date you file, the claim is: Check all that apply
              Montverde, FL 34756                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?              15118 Pendiio Drive    $ $6,644.18
                                                                                                                   Montverde Montverde,
                                                                                                                   FL 34756 Lake County
                                                                                                                   This property includes
                                                                                                                   club membership
                                                                                                                   ($40,000.00) which
                                                                                                                   came with the house
                                                                                                                   and cann
              Bella Collina Prop. Owners
              c/o Aegla Community Manageme
              8390 Championsgate Blvd.


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 1

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 Debtor 1          Don Karl Juravin                                                                 Case number (if known)            6:18-bk-06821-CCJ

            Championsgate, FL 33896                                  As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $6,644.18
                                                                                    Value of security:                               - $ $1,450,000.00
            Contact phone                                                           Unsecured claim                                    $ $6,644.18


 3                                                                   What is the nature of the claim?              estimated legal fees         $ $48,000.00
                                                                                                                   (amt. given by law
                                                                                                                   firm)
            Ben Zvi Law Firm
            23 Bar-Cochva                                            As of the date you file, the claim is: Check all that apply
            Ben-Brak Israel                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?              Business Debt -              $ $32,000.00
                                                                                                                   advisory services
                                                                                                                   related to Must Cure
                                                                                                                   Obesity,
            Dr, Free
            11 Walnut Street, #12350                                 As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Business Debt -              $ $25,246,000.00
                                                                                                                   pending lawsuit
                                                                                                                   Judgment against
                                                                                                                   Debtor relatead to
                                                                                                                   business activities
            Federal Trade Commission
            800 Pennsylvania Avenue NW
            Mall Crop CC-105t28


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 2

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 Debtor 1          Don Karl Juravin                                                                 Case number (if known)            6:18-bk-06821-CCJ

            Washington, DC 20580                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Business Debt -              $ $111,000.00
                                                                                                                   Estimated 2018
                                                                                                                   income tax liability
                                                                                                                   given by accountant
                                                                                                                   as of filing date
            Internal Revenue Service
            PO Box 7346                                              As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101-7346                                      Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              15118 Pendiio Drive    $ $62,894.00
                                                                                                                   Montverde Montverde,
                                                                                                                   FL 34756 Lake County
                                                                                                                   This property includes
                                                                                                                   club membership
                                                                                                                   ($40,000.00) which
                                                                                                                   came with the house
                                                                                                                   and cann
            Internal Revenue Service
            Centralized Insolvency                                   As of the date you file, the claim is: Check all that apply
            Operation                                                        Contingent
            Post Office Box 7346                                             Unliquidated
            Philadelphia, PA 19101                                           Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $180,000.00
                                                                                    Value of security:                               - $ $1,450,000.00
            Contact phone                                                           Unsecured claim                                    $ $62,894.00


 8                                                                   What is the nature of the claim?              Alimony in discussion $ $190,000.00
            Julia Kalatusha


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 3

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 Debtor 1          Don Karl Juravin                                                                 Case number (if known)            6:18-bk-06821-CCJ

            32 Borocho                                               As of the date you file, the claim is: Check all that apply
            Tel Aviv, Israel                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Busiess Debt (partial)       $ $200,000.00
                                                                                                                   Promissory Note
                                                                                                                   (Must Cure Obesity is
                                                                                                                   co-obligor) Face
                                                                                                                   Amount of $500,000,
                                                                                                                   but only $200,000 has
                                                                                                                   been advanced plus
                                                                                                                   interest
            Karan Arora
            12815 NW 45th Avenue                                     As of the date you file, the claim is: Check all that apply
            Opa Locka, FL 33054                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              2018 Mercedes S560V          $ $6,797.71
            Mercedes-Benz Financial
            PO Box 961                                               As of the date you file, the claim is: Check all that apply
            Roanoke, TX 76262                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $90,271.71
                                                                                    Value of security:                               - $ $83,474.00
            Contact phone                                                           Unsecured claim                                    $ $6,797.71


 11                                                                  What is the nature of the claim?              Personal Loan                $ $8,200.00
            Noam Ben Zvi
            10/93 Rishon Lezion Street                               As of the date you file, the claim is: Check all that apply
            Petachtiachba, Israel                                            Contingent
                                                                             Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 4

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 Debtor 1          Don Karl Juravin                                                                 Case number (if known)            6:18-bk-06821-CCJ

                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              15118 Pendiio Drive    $ $49,538.18
                                                                                                                   Montverde Montverde,
                                                                                                                   FL 34756 Lake County
                                                                                                                   This property includes
                                                                                                                   club membership
                                                                                                                   ($40,000.00) which
                                                                                                                   came with the house
                                                                                                                   and cann
            PSR Developers, LLLP
            3900 Centennial Drive                                    As of the date you file, the claim is: Check all that apply
            Suite C                                                          Contingent
            Midland, MI 48642                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $1,312,894.00
                                                                                    Value of security:                               - $ $1,450,000.00
            Contact phone                                                           Unsecured claim                                    $ $49,538.18


 13                                                                  What is the nature of the claim?              Promissory Note              $ $172,000.00
            Shay Zuckerman
            Ha Yarakon St. 113                                       As of the date you file, the claim is: Check all that apply
            Tel Aviv, Israel                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Don Karl Juravin                                                             X
       Don Karl Juravin                                                                     Signature of Debtor 2
       Signature of Debtor 1


       Date      September 30, 2019                                                         Date



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 5

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 Debtor 1          Don Karl Juravin                                                                 Case number (if known)            6:18-bk-06821-CCJ




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 6

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 Fill in this information to identify your case:

 Debtor 1                   Don Karl Juravin
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF FLORIDA

 Case number           6:18-bk-06821-CCJ
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,450,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             362,286.20

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,812,286.20

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,633,253.17

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             111,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $         25,925,795.02


                                                                                                                                     Your total liabilities $           27,670,048.19


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $              17,732.55

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              15,480.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                              Case 6:18-bk-06821-KSJ                     Doc 186        Filed 09/30/19            Page 8 of 15
 Debtor 1      Don Karl Juravin                                                           Case number (if known) 6:18-bk-06821-CCJ

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $     16,350.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            111,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $            111,000.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Don Karl Juravin

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF FLORIDA

Case number               6:18-bk-06821-CCJ                                                             Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Marketing Expert                            President
       Include part-time, seasonal, or
       self-employed work.                                         United Medical Goup                         United Medical Group
                                             Employer's name       International, Inc.                         International, Inc
       Occupation may include student
       or homemaker, if it applies.          Employer's address
                                                                   15118 Pendio Drive                          15118 Pendio Drive
                                                                   Montverde, FL 34756                         Montverde, FL 34756

                                             How long employed there?         4 months                                  4 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       16,350.00         $         6,544.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     16,350.00               $   6,544.00




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1   Don Karl Juravin                                                                      Case number (if known)    6:18-bk-06821-CCJ


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      16,350.00      $         6,544.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        3,952.45     $        1,209.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $            0.00     $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $            0.00     $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $            0.00     $            0.00
     5e.    Insurance                                                                     5e.        $            0.00     $            0.00
     5f.    Domestic support obligations                                                  5f.        $            0.00     $            0.00
     5g.    Union dues                                                                    5g.        $            0.00     $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $            0.00 +   $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            3,952.45     $        1,209.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          12,397.55      $        5,335.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              12,397.55 + $      5,335.00 = $          17,732.55
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $          17,732.55
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Don Karl Juravin                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA                                                 MM / DD / YYYY

Case number           6:18-bk-06821-CCJ
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Daughter                             9                    Yes
                                                                                                                                             No
                                                                                   Daughter                             11                   Yes
                                                                                                                                             No
                                                                                   Daughter                             16                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           1,300.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             550.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             260.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Don Karl Juravin                                                                          Case number (if known)      6:18-bk-06821-CCJ

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                800.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                400.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                200.00
      6d. Other. Specify: Comm.                                                              6d. $                                                450.00
7.    Food and housekeeping supplies                                                           7. $                                             2,000.00
8.    Childcare and children’s education costs                                                 8. $                                                 0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               250.00
10.   Personal care products and services                                                    10. $                                                  0.00
11.   Medical and dental expenses                                                            11. $                                                250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 220.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 500.00
14.   Charitable contributions and religious donations                                       14. $                                                 850.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   0.00
      15b. Health insurance                                                                15b. $                                                   0.00
      15c. Vehicle insurance                                                               15c. $                                               2,600.00
      15d. Other insurance. Specify:                                                       15d. $                                                   0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Post-Petition Income Taxes                                                    16. $                                              3,000.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Travel Expenses                                                     21. +$                                             1,400.00
      Mandatory Club Fees (HOA)                                                                   +$                                              450.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      15,480.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      15,480.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              17,732.55
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             15,480.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              2,252.55

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1            Don Karl Juravin

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Middle District of Florida

 Case number         6:18-bk-06821-CCJ                                                                 Check if this is an amended filing
 (if known)


Official Form 122B
Chapter 11 Statement of Your Current Monthly Income                                                                                                        12/15

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11. If more space is needed, attach a separate
sheet to this form. Include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).
 Part 1:       Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.


           Not married. Fill out Column A, lines 2-11.

           Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

           Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
    case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
    of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
    income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
    you have nothing to report for any line, write $0 in the space.
                                                                                                   Column A                Column B
                                                                                                   Debtor 1                Debtor 2

  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                      16,350.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                        $             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                        0.00      $
  5. Net income from operating a
     business, profession, or farm                Debtor 1                 Debtor 2
       Gross receipts (before all deductions)                             $      0.00
       Ordinary and necessary operating expenses                         -$      0.00
       Net monthly income from a business, profession, or farm $                 0.00 Copy here -> $             0.00      $
  6. Net income from rental and
     other real property                          Debtor 1                 Debtor 2
       Gross receipts (before all deductions)                             $      0.00
       Ordinary and necessary operating expenses                         -$      0.00
       Net monthly income from rental or other real property              $      0.00 Copy here -> $             0.00      $




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                           page 1
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 Debtor 1     Don Karl Juravin                                                                       Case number (if known)   6:18-bk-06821-CCJ

                                                                                                 Column A                     Column B
                                                                                                 Debtor 1                     Debtor 2

                                                                                                 $                  0.00      $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                   $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                      $                  0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism.
       If necessary, list other sources on a separate page and put the total below.
                                                                                                 $                            $
                                                                                                 $                  0.00      $
                  Total amounts from separate pages, if any.                                 +   $                  0.00      $

  11. Calculate your total current monthly income.
       Add lines 2 through 10 for each column.
       Then add the total for Column A to the total for Column B.                        $    16,350.00           +   $                  =   $   16,350.00




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                             page 2
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 Debtor 1    Don Karl Juravin                                                                    Case number (if known)   6:18-bk-06821-CCJ




 Part 2:       Sign Below

             By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            X /s/ Don Karl Juravin
                Don Karl Juravin
                Signature of Debtor 1

        Date September 30, 2019
             MM / DD / YYYY




Official Form 122B                                       Chapter 11 Statement of Your Current Monthly Income                                          page 3
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